                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

   IN RE:                                         § CASE NUMBER: 18-10554
   MAUREEN L ADAIR                                §
   aka MAUREEN ADAIR, MD,                         §
   Debtor                                         § CHAPTER 11
                                                  §


               AGREED MOTION TO CONTINUE HEARING
 ON DEBTOR’S OBJECTION TO PROOF OF CLAIM [NO. 9] FILED BY DEUTSCHE
     BANK NATIONAL TRUST COMPANY AS TRUSTEE FOR LONG BEACH
                   MORTGAGE LOAN TRUST 2001-2
                                       [DOCKET NO. 45]

       Select Portfolio Servicing, Inc. as mortgage servicer for Deutsche Bank National Trust

Company formerly known as Bankers Trust Company of California, N.A., as Trustee for Long

Beach Mortgage Loan Trust 2001-2 (“SPS”) respectfully requests a continuance of the hearing on

Debtor’s “Objection to Proof of Claim [No. 9] Filed by Deutsche Bank National Trust Company

as Trustee for Long Beach Mortgage Loan Trust 2001-2” filed on September 21, 2018 (Docket

No. 45) (“Objection to Claim”) currently scheduled for December 3, 2018 at 1:30 pm in the

Austin Courtroom 2, Homer Thornberry Judicial Bldg., 903 San Jacinto, Austin, TX 78701, to at

least January 7, 2019. Debtor, through her undersigned counsel agrees to the requested

continuance.

       1.   SPS filed a proof of claim for $1,479,343.94, including pre-petition mortgage arrears

of $1,071,671.74, and a regular monthly mortgage payment in the amount of $5,060.97 as of

May 1, 2018 and $5,119.53 beginning July 1, 2018, consisting of principal, interest and escrow

for taxes and hazard insurance.

       2.   On September 21, 2018, Debtor filed an “Objection to Proof of Claim [No. 9] Filed

by Deutsche Bank National Trust Company as Trustee for Long Beach Mortgage Loan Trust

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2001-2” (Docket No. 45) (“Objection to Claim”). SPS filed its Response to Debtor’s Objection

to Claim on October 22, 2018 (Docket No. 50).

       3.   The Court scheduled a hearing on the Objection to Claim for December 3, 2018 at

1:30 pm.

       4.   An evidentiary hearing for up to 3.5 hours, with at least two witnesses and numerous

exhibits is necessary. The parties’ attorneys have conferred and believe a reset hearing is required

for the following cause.

        •   Debtor and Debtor’s attorney require additional time to review all documents and

            prepare for the hearing on Objection to Claim.

        •   SPS requires additional time to arrange for the witness to travel from Salt Lake City,

            UT to Austin, TX. Due to the holidays, SPS is requesting a hearing not earlier than

            January 7, 2019.

       5.   Additionally, SPS is filing a Motion for Relief from Automatic Stay. The parties’

respective attorneys agree that for judicial economy, the Objection to Claim and the Motion for

Relief from Stay can be held on the same date, which would be at least four weeks from the date

of this motion.

       6.   Accordingly, the parties’ request that this Court reset the hearing on Debtor’s

Objection to SPS’ Claim (Docket No. 45) at the Court’s first available date on or after January 8,

2019 in Austin, Texas.

       WHEREFORE PREMISES CONSIDERED Select Portfolio Servicing, Inc. as mortgage

servicer for Deutsche Bank National Trust Company formerly known as Bankers Trust Company

of California, N.A., as Trustee for Long Beach Mortgage Loan Trust 2001-2 respectfully prays

that this Court grant this request for continuance to not earlier than January 7, 2019 for an



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approximately 3.5 hour trial; and grant SPS and Debtor such other relief, in equity or at law, to

which they may respectively show themselves to be justly entitled.

                                            Respectfully Submitted,


                                             /s/ H. Gray Burks, IV
                                            H. Gray Burks, IV / TBN 03418320
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                                            Attorneys for Select Portfolio Servicing, Inc. as
                                            mortgage servicer for Deutsche Bank National
                                            Trust Company formerly known as Bankers Trust
                                            Company of California, N.A., as Trustee for Long
                                            Beach Mortgage Loan Trust 2001-2



                                            Agreed.

                                            /s/ Stephen W. Sather
                                            Stephen W. Sather,
                                            Attorney for Debtor




                            CERTIFICATE OF CONFERENCE

        I hereby certify that I spoke to Debtor’s attorney, Stephen W. Sather on November 26,
2018 at approximately 4:00 pm regarding this continuance, who advised that Debtor requests and
agrees to the requested continuance.

                                                    /s/ H. Gray Burks, IV
                                                    H. Gray Burks, IV




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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the foregoing Motion has been served on the parties
listed below, at the addresses indicated via electronic delivery or by deposit in the United States
Mail, first-class postage pre-paid on November 27, 2018.


U.S. Mail
Maureen L Adair
2524 Spring Lane
Austin, TX 78703
Debtor

U.S. Mail
John B. Hertenberger
2524 Spring Lane
Austin, TX 78703
Co-Debtor

ECF/CM
Stephen W. Sather
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Attorney for Debtor


ECF/CM
US Trustee
Office of the US Trustee
903 San Jacinto Blvd, Suite 230
Austin, TX 78701
United States Trustee




                                             /s/ H. Gray Burks, IV
                                             H. Gray Burks, IV




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